                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF OHIO
                                CLEVELAND DIVISION

 In Re:                                           Case No. 19-14814-aih

 Chigurupati Ramana                               Chapter 13

 Debtor.                                          Judge Arthur I. Harris

                                 NOTICE OF APPEARANCE

       Now comes Molly Slutsky Simons, an attorney admitted to practice in the U.S.
Bankruptcy Court, Northern District of Ohio, and enters an appearance on behalf of Wilmington
Savings Fund Society, FSB, as Owner Trustee of the Residential Credit Opportunities Trust V-
B(‘Creditor’), in the above captioned proceedings.

                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor

                                 CERTIFICATE OF SERVICE

I certify that on August 20, 2019, a true and correct copy of this Notice was served:

Via the Court’s ECF System on these entities and individuals who are listed on the Court’s
Electronic Mail Notice List:

          David M. Benson, Debtor’s Counsel
          david@davidbensonlaw.com

          Lauren A. Helbling, Trustee
          ch13trustee@ch13cleve.com

          Office of the U.S. Trustee
          (registeredaddress)@usdoj.gov




19-14814-aih       Doc 19    FILED 08/20/19      ENTERED 08/20/19 15:42:11              Page 1 of 2
And by regular U.S. Mail, postage pre-paid on:

       Chigurupati Ramana, Debtor
       1863 Cottesworth Lane
       Gates Mills, OH 44040

                                                 /s/ Molly Slutsky Simons
                                                 Molly Slutsky Simons (0083702)
                                                 Attorney for Creditor




19-14814-aih     Doc 19    FILED 08/20/19        ENTERED 08/20/19 15:42:11        Page 2 of 2
